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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
JAMES FICKEN, trustee,
SUNCOAST FIRST TRUST; and
SUNCOAST FIRST TRUST,
Plaintiffs,
Case No.: 8:19-cv-01210
VS. State Court Case No.: 19-003181-CI

CITY OF DUNEDIN, FLORIDA;
DUNEDIN CODE ENFORCEMENT BOARD;
MICHAEL BOWMAN, in his official capacity as Code
Enforcement Board Chairman; LOWELL SUPLICKI,
in his official capacity as Code Enforcement Board Vice-Chair;
ARLENE GRAHAM, in her official capacity as a member of the
Code Enforcement Board; KEN CARLSON, in his official capacity
as a member of the Code Enforcement Board; WILLIAM MOTLEY,
in his official capacity as a member of the Code Enforcement Board;
DAVID PAULEY, in his official capacity as a member of the Code
Enforcement Board; and BUNNY DUTTON, in her official capacity
as a member of the Code Enforcement Board,

Defendants.

 

MEDIATION REPORT

A mediation was conducted on November 15, 2019. The following parties and
counsel were present: (1) Plaintiff James Ficken, trustee and on behalf of Plaintiff
Suncoast First Trust and Plaintiffs’ counsel, Ari Bargil, Esq. and Andrew Ward,

Esq. and (2) Dr. Theresa E. Smalling, Director of Human Resources and Risk
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Management on behalf of Defendants and Defendants’ counsel, Jay Daigneault,

Esq.

The result of the mediation was an impasse.

Dated: November 15, 2019 —XV\p Wm [% Hum

Melvia B. Green, EF
Mediator
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Copies furnished by hand to:

Ari Bargil, Esq.
Andrew Ward, Esq.
Jay Daigneault, Esq.
